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                    UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION OPIATE                *
LITIGATION                                         *
                                                   *
TOWN OF BARRINGTON, RHODE ISLAND,                  *
TOWN OF BRISTOL, RHODE ISLAND,                     *
TOWN OF BURRILLVILLE, RHODE ISLAND,                *     MDL No. 2804
CITY OF CENTRAL FALLS, RHODE ISLAND,               *
TOWN OF CHARLESTOWN, RHODE ISLAND,                 *     Case No. 1:17-md-2804
TOWN OF COVENTRY, RHODE ISLAND,                    *
CITY OF CRANSTON, RHODE ISLAND,                    *     JUDGE DAN AARON
TOWN OF CUMBERLAND, RHODE ISLAND,                  *     POLSTER
TOWN OF EAST GREENWICH, RHODE ISLAND,              *
CITY OF EAST PROVIDENCE, RHODE ISLAND,             *
TOWN OF FOSTER, RHODE ISLAND,                      *
TOWN OF GLOCESTER, RHODE ISLAND,                   *
TOWN OF HOPKINTON, RHODE ISLAND,
TOWN OF JAMESTOWN, RHODE ISLAND,
TOWN OF JOHNSTON, RHODE ISLAND,
TOWN OF MIDDLETOWN, RHODE ISLAND,
TOWN OF NARRAGANSETT, RHODE ISLAND,
CITY OF NEWPORT, RHODE ISLAND,
TOWN OF NORTH KINGSTOWN, RHODE ISLAND,
TOWN OF NORTH PROVIDENCE, RHODE ISLAND,
CITY OF PAWTUCKET, RHODE ISLAND,
TOWN OF PORTSMOUTH, RHODE ISLAND,
CITY OF PROVIDENCE, RHODE ISLAND,
TOWN OF RICHMOND, RHODE ISLAND,
TOWN OF SCITUATE, RHODE ISLAND,
TOWN OF SMITHFIELD, RHODE ISLAND,
TOWN OF SOUTH KINGSTOWN, RHODE ISLAND,
TOWN OF WARREN, RHODE ISLAND,
CITY OF WARWICK, RHODE ISLAND,
TOWN OF WEST GREENWICH, RHODE ISLAND,
TOWN OF WEST WARWICK, RHODE ISLAND,
TOWN OF WESTERLY, RHODE ISLAND, AND
CITY OF WOONSOCKET, RHODE ISLAND,

                 PLAINTIFFS,

     V.
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    TEVA PHARMACEUTICAL INDUSTRIES LTD; TEVA
    PHARMACEUTICALS USA INC.; ALLERGAN PLC
    F/K/A ACTAVIS PLC F/K/A ALLERGAN, INC.;
    ALLERGAN FINANCE, LLC F/K/A ACTAVIS INC.
    F/K/A WATSON PHARMACEUTICALS, INC.;
    ALLERGAN SALES, LLC; ALLERGAN USA, INC.

                         DEFENDANTS.


                     STIPULATION OF DISMISSAL WITH PREJUDICE

         The undersigned Parties (the “Parties) have settled the above-referenced litigation

pursuant to the Teva Rhode Island Settlement Agreement, executed on March 21, 2022 and the

Allergan Rhode Island Settlement Agreement executed on March 28, 2022, in which Plaintiffs—

the Rhode Island litigating subdivisions listed in Appendix A—have elected to participate. The

undersigned Parties agree that references to the “Teva Allergan Settlement” in the Subdivision

Teva Allergan Settlement Participation Form in Appendix B include the Teva Rhode Island

Settlement Agreement and the Allergan Rhode Island Settlement Agreement. Pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs and Defendants, Teva and Allergan,

agree that all claims of Plaintiffs in the actions identified in Appendix A against Teva and

Allergan Defendants are dismissed with prejudice, with each party to bear its own costs.1




    Date: May , 2022                            Respectfully submitted,

                                                  ATTORNEYS FOR PLAINTIFFS

                                                  /s/ Peter J. Mougey
                                                  Peter J. Mougey
                                                  Jeffrey R. Gaddy



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  “Teva Allergan Defendants” include any and all subsidiaries of these entities that may be
individually named in any of Plaintiffs’ complaints.


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So Ordered. /s/Dan Aaron Polster 6/1/22

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